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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                           Case No. 11-20537
         Plaintiff,
                                                           Honorable John Corbett O’Meara
v.

BRANDA LEE FLORES,

         Defendant.
                                                    /

              ORDER DENYING DEFENDANT’S REQUEST FOR RELIEF

      Defendant Branda Lee Flores filed a request for appointment of counsel October 31, 2014,

seeking “a modified term of imprisonment as a result of the recent retroactive amendment to the

United States Sentencing Guidelines . . . effective November 1, 2014.” The court granted the

request and appointed a federal defender November 17, 2014.

      At Flores’ original sentencing, this court determined that she was eligible for relief from the

mandatory minimum sentence of 120 months due to the safety valve. Her original guideline range

after the safety valve was 63-78 months, based upon a Total Offense Level of 26 and a Criminal

History Category of I. Based on a variance under 18 U.S.C. § 3553(a), Flores was sentenced April

24, 2013, to a term of 48 months.

      Applying recent amendments, Flores’ new guideline range is 51-63 months, based upon a

Total Offense Level of 24 and a Criminal History Category of I. According to the amendments,

“The court shall not reduce the defendant’s term of imprisonment to a term that is less than the

amended guideline range unless a 5K1.1 motion is filed pursuant to 18 U.S.C. § 3582(c)(2) and 1

B1.10.” The safety value, which the court applied in her case, is not equivalent to the government
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filing a § 5K1.1 motion. Accordingly, defendant Flores is not eligible for the relief under 18 U.S.C.

§ 3582(c)(2).

      Therefore, it is hereby ORDERED that defendant Flores’ request for relief is DENIED.



                                              s/John Corbett O'Meara
                                              United States District Judge

Date: February 12, 2015




      I hereby certify that a copy of the foregoing document was served upon the parties of record
on this date, February 12, 2015, using the ECF system and/or ordinary mail.


                                              s/William Barkholz
                                              Case Manager




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